  Case 17-34493          Doc 56       Filed 08/04/21 Entered 08/04/21 14:26:29                    Desc Main
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                            UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION


RE: ALEXANDER QUALLS                                      )              Case No. 17 B 34493
                                                          )
                                                          )              Chapter 13
     Debtor(s)                                            )
                                                          )              Judge: CAROL A DOYLE


                         NOTICE OF MOTION & CERTIFICATE OF SERVICE




ALEXANDER QUALLS                                                    THE SEMRAD LAW FIRM LLC
8331 S KING DR #1E                                                  via Clerk's ECF noticing procedures
CHICAGO, IL 60619


Please take notice that on September 07, 2021 at 9:15 am., I will appear before the Honorable
Judge CAROL A DOYLE or any judge sitting in the judge's place and present the motion set
forth below.

This motion will be presented and heard electronically using Zoom for Government. No
personal appearance in court is necessary or permitted. To appear and be heard on the motion,
you must do the following:

    To appear by video, use this link: https://www.zoomgov.com. Then enter the meeting ID
    and password.
    To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-7666.
    Then enter the meeting ID and password.
    Meeting ID and password. The meeting ID for this hearing is 161 155 8289 and the
    password is Doyle742. The meeting ID and password can also be found on the judge’s page
    on the court’s web site.

If you object to this motion and want it called on the presentment date above, you must file a
Notice of Objection no later than two (2) business days before that date. If a Notice of Objection
is timely filed, the motion will be called on the presentment date. If no Notice of Objection is
timely filed, the court may grant the motion in advance without a hearing.

I certify under penalty of perjury that this office caused a copy of this notice to be delivered to
the persons named above by U.S. mail or by the methods indicated on August 04, 2021.

                                                                                  /s/ M.O. Marshall

                                                                                  M.O. Marshall, Trustee
Chapter 13 Trustee
55 East Monroe, Suite 3850
Chicago, IL 60603
(312) 294-5900
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                                                      )
                                                      )              Chapter 13
     Debtor(s)                                        )
                                                      )              Judge: CAROL A DOYLE




                 MOTION TO DISMISS FOR FAILURE TO MAKE PLAN PAYMENTS


Now comes M.O. Marshall, Trustee and requests that this case be dismissed pursuant to 11
U.S.C. §1307(c)(6), and in support thereof respectfully states the following:

On November 17, 2017 the debtor(s) filed a petition under Chapter 13 of the Bankruptcy Code
which was confirmed by the Court on January 16, 2018 for a term of 60 months with payments
of $200.00.

The status of the debtor's plan is:

                     Current Month        Cash Due                 Cash Received         Payment Default
                          45              $6,250.00                  $5,650.00              $600.00


A summary of the 3 most recent receipt items is set forth below:        Report Date: 08/04/2021
                                                                        Due Each Month: $200.00
                                                                        Next Payment Due: 08/17/2021


Receipt Date                 Ref Number                                                     Amount
04/09/2021                   7588352000                                                     $200.00
05/13/2021                   7668852000                                                      $200.00
06/30/2021                   7774009000                                                      $200.00

WHEREFORE, the Trustee prays that this case be dismissed, and for any and all other relief this
Court deems just and proper.


                                                                            /s/ M.O. Marshall
                                                                            M.O. Marshall, Trustee
Chapter 13 Trustee
55 East Monroe, Suite 3850
Chicago, IL 60603
(312) 294-5900
